Case 2:04-CV-03003-BBD-tmp Document 35 Filed 07/01/05 Page 1 Of 3 Page|D 22

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FoR THE wEsT)-:RN DISTRICT or-' TENNEss ' .
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LUCILLE PI'I“I'M.AN, et al.,
Plaintiffs,
vs.

Civ. No. O4-3003-D[P

MOHAMAD J. AKBIK, M.D.,
et al.,

Defendants.

Vb_¢\_¢`_¢`.¢\_¢`.¢~_dvv~_¢\_d

 

ORDER GRANTING DEFENDANT DMC-MEMPHIS, INC.,
D/B/A DELTA MEDICAL CENTER'S MOTION FOR LEAVE TO AMEND ITS ANSWER

 

Before the court is defendant DMC-Memphis, Inc. d/b/a Delta
Medical Center's Motion for Leave to Amend its Answer, filed June
3, 2005 (Dkt #30). According to the Certificate of Consultation,
all parties except defendant Dr. Vandeven have approved the amended
answer. Local Rule 7.2(a)(2) requires that

The response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.

'This doctment entered on the docket sheet In complla ce
with me 55 and/or 321b) sqch on 2 ".l _'.§B_

Case 2:04-CV-O3OO3-BBD-tmp Document 35 Filed 07/01/05 Page 2 of 3 Page|D 23

None of the parties have filed a response to the motion for

leave to amend its answer. Therefore,

IT IS SO ORDERED.

the motion is GRANTED.

(/L/At/ 3
TU M. PHAM
United States Magistrate Judge

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case 2:04-CV-03003 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

